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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


 STATE OF DELAWARE, ex rel.
 KATHLEEN JENNINGS, Attorney General of
 the State of Delaware,

                Plaintiff,
                                          Civil Action No. 20-cv-01429-LPS
                   v.

 BP AMERICA INC., BP P.L.C., CHEVRON
 CORPORATION,
 CHEVRON U.S.A. INC., CONOCOPHILLIPS,
 CONOCOPHILLIPS COMPANY, PHILLIPS
 66, PHILLIPS 66 COMPANY, EXXON
 MOBIL CORPORATION, EXXONMOBIL
 OIL CORPORATION, XTO ENERGY INC.,
 HESS CORPORATION, MARATHON OIL
 CORPORATION, MARATHON OIL
 COMPANY, MARATHON PETROLEUM
 CORPORATION, MARATHON
 PETROLEUM COMPANY LP, SPEEDWAY
 LLC, MURPHY OIL CORPORATION,
 MURPHY USA INC.,
 ROYAL DUTCH SHELL PLC, SHELL OIL
 COMPANY, CITGO PETROLEUM
 CORPORATION, TOTAL S.A., TOTAL
 SPECIALTIES USA INC., OCCIDENTAL
 PETROLEUM CORPORATION, DEVON
 ENERGY CORPORATION, APACHE
 CORPORATION, CNX RESOURCES
 CORPORATION, CONSOL ENERGY INC.,
 OVINTIV, INC., and AMERICAN
 PETROLEUM INSTITUTE,

               Defendants.



            BRIEF IN SUPPORT OF DEFENDANTS’ JOINT MOTION
         TO STAY EXECUTION OF REMAND ORDER PENDING APPEAL
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                         NATURE AND STAGE OF PROCEEDINGS

        Plaintiff initiated this action in the Superior Court of Delaware on September 10, 2020.

D.I. 1-1. Defendants timely removed the case to this Court on October 23, 2020, D.I. 1, and

Plaintiff moved to remand on November 20, 2020, D.I. 86. On January 5, 2022, the Court granted

Plaintiff’s motion to remand. D.I. 121. Defendants have appealed that order to the Third Circuit

and will raise several serious legal questions of first impression that the Third Circuit is poised to

address in this appeal, as well as another currently pending appeal. See D.I. 124. For the reasons

explained below, Defendants now move this Court to stay the execution of its remand order until

the Third Circuit resolves Defendants’ appeal. 1

                                 SUMMARY OF ARGUMENT

        1.     To preserve the full effectiveness of Defendants’ appellate rights and spare the

parties and the Delaware Superior Court from what could be a substantial amount of unnecessary

and ultimately futile litigation, Defendants respectfully request that the Court stay execution of its

Remand Order until the Third Circuit has determined whether this action was properly removed

to federal court. Defendants have an appeal as of right because they removed this case in part

under the federal officer removal statute, 28 U.S.C. § 1442. See 28 U.S.C. § 1447(d). As the

Court’s Remand Order correctly noted, “the Third Circuit has not [yet] decided” the removability

of climate change-related cases, Remand Opinion at 29, but these matters are squarely presented

and pending before the Third Circuit in City of Hoboken v. Exxon Mobil Corp., et al., No. 21-2728

(3d Cir.), and in this very case, see D.I. 124 (Defendants’ Notice of Appeal). It would be prudent

to await a decision from the Third Circuit before proceeding further, because the propriety of




 1
     By filing this motion, Defendants do not waive any right, defense, affirmative defense, or
     objection, including any challenges to personal jurisdiction over Defendants.
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removal turns on issues of first impression that the Third Circuit has not yet addressed (but will

soon address) and staying the case pending appeal will preserve both the parties’ and the courts’

resources.

       2.      Over the past four years, over 20 state and municipal entities have filed similar

climate change actions in courts across the country, all of which involve significant national

interests. In light of these significant national interests, this Court should stay these proceedings

so that the Third Circuit can address these issues of first impression. As Judge Vazquez recently

explained in granting a stay in a related case: “Given Defendants’ clear right to have the Third

Circuit review the Remand Order, returning the case now could defeat the very purpose of

appellate review.” City of Hoboken v. Exxon Mobil Corp., et al., No. 20-cv-14243, Dkt. 133 at 5

(D.N.J. Dec. 15, 2021) (“Hoboken Stay Order”) (emphasis added). The First Circuit has similarly

cautioned that “allowing a district court to render the permitted appeal nugatory by prematurely

returning the case to the state court would defeat the very purpose of permitting an appeal and

leave a defendant who prevails on appeal holding an empty bag” and explained that “[n]either

Supreme Court precedent nor our own case law demands so illogical a result.” Forty Six Hundred

LLC v. Cadence Educ., LLC, 15 F.4th 70, 79 (1st Cir. 2021) (emphasis added). Appellate review

is particularly important here because, as the District of Minnesota explained in granting a stay,

these climate change-related “action[s] raise[] weighty and significant questions that intersect with

rapidly evolving areas of legal thought.” Minnesota v. American Petroleum Institute, 2021 WL

3711072, at *2 (D. Minn. Aug. 20, 2021). This is why multiple federal courts across the country,

including in New Jersey, Connecticut, Minnesota, Maryland, and California, all have granted stays

pending appellate review in these climate change-related cases. This Court should do the same.

       3.      Defendants have a reasonable probability of prevailing on appeal as to each of the



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asserted removal grounds. That each ground raises an issue of first impression in the Third Circuit

alone warrants a stay. See, e.g., Nw. Airlines v. E.E.O.C., 1980 WL 4650, at *1 (D.C. Cir. Nov.

10, 1980) (per curiam). Moreover, recent decisions from the Supreme Court and courts of appeals

demonstrate that there is ample room for disagreement on several of the removal grounds at issue.

The Second Circuit’s decision in City of New York v. Chevron Corp., 993 F.3d 81 (2d Cir. 2021),

strongly supports Defendants’ argument that Plaintiff’s purported state law claims in fact “arise

under” federal law. And although the Third Circuit has not yet addressed whether federal common

law provides a basis for removal, it has already held that “because federal common law is federal

law, disputes governed by it ‘arise under the . . . laws . . . of the United States,’” and provide

federal-question jurisdiction. E.O.H.C. v. Secretary, U.S. Department of Homeland Security, 950

F.3d 177, 192 (3d Cir. 2020). The Fourth Circuit’s decision in County Board of Arlington County,

Virginia v. Express Scripts Pharmacy, Inc., 996 F.3d 243 (4th Cir. 2021), supports removal under

the federal officer removal statute. So too does the Eighth Circuit’s recent decision confirming

that removal is warranted where, as here, “a private contractor provided the government with a

product that it needed or performed a job that the government would otherwise have to perform.”

Buljic v. Tyson Foods, Inc., --- F.4th ---, 2021 WL 6143549, at *5 (8th Cir., Dec. 30, 2021). And

based on the Supreme Court’s decision in Ford Motor Co. v. Montana Eighth Judicial District

Court, 141 S. Ct. 1017 (2021), the Third Circuit is likely to hold that but-for causation is not

required for removal jurisdiction under the Outer Continental Shelf Lands Act (“OCSLA”). These

and other serious legal questions presented by Defendants’ appeal favor a stay.

       4.      Absent a stay, Defendants will be irreparably injured, whereas a stay would harm

neither Plaintiff nor the public. If a stay is denied, the Delaware Superior Court might commence

proceedings on the merits while the Third Circuit is still considering the proper forum for this case.



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Such dual proceedings would raise a “rat’s nest of comity and federalism issues” if the Third

Circuit ultimately reverses the Remand Order after months (or even years) of litigation in state

court, during which time the state court might have invested substantial time and resources and

made numerous substantive rulings. Northrop Grumman Tech. Servs., Inc. v. DynCorp. Int’l, LLC,

2016 WL 3346349, at *4 (E.D. Va. June 16, 2016). The risk of such “nightmarish procedural

complications arising from parallel proceedings in state and federal court . . . weighs in favor of a

stay.” Id.

       5.      Allowing litigation to proceed in state court while the parties are before the Third

Circuit would also undermine and potentially frustrate Defendants’ appellate rights, risk

inconsistent rulings, unduly complicate this litigation, and impose needless substantial costs and

resource burdens on the courts and parties alike. Staying the Remand Order, on the other hand,

would not prejudice Plaintiff and would avoid irreparable harm to Defendants, conserve judicial

resources, and serve the interests of judicial efficiency.

       6.      For these reasons, the Court should follow the lead of several other courts in

climate-related cases and grant a stay to allow the Third Circuit the opportunity to consider and

rule on matters of first impression that bear on the Court’s Remand Order. At a minimum, if the

Court decides not to grant a stay pending appeal, the Court should enter a brief stay of the Remand

Order to enable Defendants to seek a stay pending appeal from the Third Circuit.

                CONCISE STATEMENT OF FACTS AND BACKGROUND

       On September 9, 2020, the State of Delaware filed a Complaint in Delaware Superior

Court. D.I. 1-1. On October 23, 2020, Defendants timely removed the case pursuant to 28 U.S.C.

§§ 1331, 1332(d), 1367(a), 1441(a), 1442, and 1446, and 43 U.S.C. § 1349(b). D.I. 1. On

November 20, 2020, Plaintiff filed a motion to remand to state court, D.I. 86, which the Court

granted on January 5, 2022, D.I. 121.

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         In the meantime, on May 17, 2021, the Supreme Court issued its decision in BP P.L.C. v.

Mayor & City Council of Baltimore, 141 S. Ct. 1532 (2021), holding that 28 U.S.C. § 1447(d)

“permit[s] a court of appeals to review any issue in a district court order remanding a case to state

court where the defendant premised removal in part on the federal-officer removal statute.” 141

S. Ct. at 1536. Before Baltimore, most appellate courts had refused to exercise jurisdiction under

§ 1447(d) to review a district court’s remand order beyond the federal officer ground, which

limited the scope of appellate review. In light of Baltimore, this Court’s Remand Order will be

subject to plenary appellate review in the Third Circuit on one or more grounds that most appellate

courts have not yet addressed in climate change-related cases. 2 A remand order in a parallel case,

City of Hoboken v. Exxon Mobil Corp., No. 20-CV-14243, 2021 WL 4077541, at *1 (D.N.J. Sept.

8, 2021), is also being reviewed by the Third Circuit, City of Hoboken v. Exxon Mobil Corp., et

al., No. 21-2728 (3d Cir.). Briefing will be complete in that appeal as of January 14, 2022.

         Recognizing the fundamental shift in the law precipitated by Baltimore, multiple federal

courts have issued stays pending appellate review of remand orders issued in similar climate suits

filed in other jurisdictions. Most recently, Judge Vazquez of the District of New Jersey stayed his

remand order pending appeal to the Third Circuit. See Hoboken Stay Order. The court found that

“consideration of judicial economy and conservation of resources . . . weigh[ed] in favor of”

entering a stay pending appeal, and that “returning the case to state court now could defeat the

very purpose of appellate review.” Id. at 5. Rejecting the plaintiff’s argument that concurrent

litigation in state and federal court would be a mere “‘inconvenience,’” the court stated that




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      Several other courts of appeals, including the First, Fourth, Eighth, Ninth, and Tenth Circuits,
      are now considering or will soon consider for the first time some of these additional grounds
      for removal of climate change-related cases, after having declined to review them in previous
      appeals.

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“[f]orcing the parties to litigate” in this manner could “require a state court (and the parties) to

needlessly expend resources.” Id. The court explained that regardless of its conclusion on

removability, “the matter is clearly complex both factually and legally,” and that complexity

“weighs in favor” of a stay. Id. at 5–6.

       Similarly, Chief Judge Tunheim of the District of Minnesota stayed execution of his

remand order pending appeal in a similar climate change-related case, concluding that “this action

raises weighty and significant questions that intersect with rapidly evolving areas of legal thought.”

Minnesota, 2021 WL 3711072, at *2 (emphasis added). The court found that “the Second Circuit’s

decision in City of New York provides a legal justification for addressing climate injuries through

the framework of federal common law,” id., and “the Baltimore decision increases the likelihood

that an appellate court will determine that certain climate change claims arise exclusively under

federal law,” id. at *3. The court also noted that this “is not a case of applying thoroughly

developed law to well-tread factual patterns; when it comes to questions of the proper forum for

adjudicating harms related to climate change, ‘the legal landscape is shifting beneath [our] feet.’”

Id. at *4. For these and other reasons, the court concluded: “Considerations of judicial economy

and conservation of resources also weigh in favor of staying execution of the remand order as the

Eighth Circuit determines whether the state or federal court has jurisdiction over this matter.” Id.

       The District of Maryland also stayed proceedings in a similar action pending the Fourth

Circuit’s decision on remand in Baltimore. City of Annapolis v. BP P.L.C., 2021 WL 2000469 (D.

Md. May 19, 2021). The district court rejected the City of Annapolis’s arguments opposing a stay

for the “simple but important reason” that the “Fourth Circuit’s ruling on remand in the Baltimore

Case is not a foregone conclusion,” since a number of the jurisdictional arguments at issue there

(many of which are at issue here) “raise novel questions of law on which the [court of appeals] has



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yet to opine.” Id. at *4. The Annapolis court also rejected the argument that the alleged exigencies

of climate change weigh against a stay, reasoning that “the outcome of this lawsuit cannot turn

back the clock on the atmospheric and ecological processes that defendants’ activities have

allegedly helped set in motion. The urgency of the threat of climate change writ large is distinct

from plaintiff’s interest in a speedy determination of federal jurisdiction in this suit.” Id.

         Even before Baltimore, district courts had stayed remand orders pending appeal in climate

change-related actions. For example, Judge Chhabria of the Northern District of California stayed

execution of his remand order pending appeal to the Ninth Circuit after finding that there were

“controlling questions of law as to which there is substantial ground for difference of opinion and

that their resolution by the court of appeals will materially advance the litigation.” County of San

Mateo v. Chevron Corp. et al., No. 17-cv-4929 (N.D. Cal.), Dkt. 240. Proceedings in a number of

other state and federal cases have been stayed pending further appellate review. 3

                                       LEGAL STANDARD

         District courts have the authority to stay entry of an order or judgment. See Rhines v.

Weber, 544 U.S. 269, 276 (2005) (“District courts do ordinarily have authority to issue stays . . .

where such a stay would be a proper exercise of discretion.”) (internal citations omitted). This

includes the authority to stay remand orders pending appeal. See, e.g., St. John v. Affinia Grp.,

Inc., 2009 WL 1586503, at *2 (D.N.J. June 8, 2009) (holding that “a stay of the remand order




  3
      See Order, Pac. Coast Fed’n of Fishermen’s Assocs., Inc. v. Chevron Corp., No. 18-cv-07477
      (N.D. Cal. Jan. 2, 2019), Dkt. 91; Order, City of Charleston v. Brabham Oil Co., No. 20-cv-
      3579 (D.S.C. May 27, 2021), Dkt. 121; Order Staying Case & Pending Motions, Mayor & City
      Council of Baltimore v. BP P.L.C., Civ. No. 18-4219 (Md. Cir. Ct. May 28, 2021); Stipulation
      & Order Staying Proceedings, Anne Arundel County v. BP P.L.C., No. 21-cv-1323 (D. Md.
      June 1, 2021), Dkt. 19; Order Granting Motion to Stay, Board of County Commissioners of
      Boulder County v. Suncor Energy (U.S.A.), Inc., Civ. No. 18-30349 (Colo. Dist. Ct. June 29,
      2021); Order Granting Defendants’ Motion to Stay, Board of County Commissioners of San
      Miguel County v. Suncor Energy (U.S.A.) Inc., Civ. No. 21-150 (Colo. Dist. Ct. July 14, 2021).

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pending appeal is warranted”).

       In deciding whether to enter a stay, courts in the Third Circuit use a four-factor standard.

Under that standard, courts consider “(1) whether the stay applicant has made a ‘strong’ showing

that it is likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent

a stay; (3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Revel AC, Inc. v. IDEA Boardwalk LLC, 802

F.3d 558, 568 (3d Cir. 2015) (alteration omitted). To establish a “‘strong’ likelihood of success

on the merits,” the moving party need show only that there “is a reasonable chance, or probability

of winning.” Id. at 568 (internal quotation marks omitted). “[T]he likelihood of winning on appeal

need not be ‘more likely than not.’” Id. at 569 (quoting Singer Mgmt. Consultants, Inc. v. Milgram,

650 F.3d 223, 229 (3d Cir. 2011) (en banc)).

                                            ARGUMENT
I.     Defendants’ Appeal Raises Serious Legal Questions About Federal Jurisdiction Over
       Climate Change-Related Claims.

       Defendants have a reasonable likelihood of success on the merits because the question

whether climate change-related claims nominally pleaded under state law are removable to federal

court presents several issues of first impression in the Third Circuit. It is well established that

questions of first impression raised in an appeal favor a stay. See, e.g., Moutevelis v. United States,

564 F. Supp. 1554, 1556 (M.D. Pa. 1983), aff’d, 727 F.2d 313 (3d Cir. 1984) (granting a stay

pending appeal where district court recognized its “opinion … may well involve issues of first

impression in this Circuit”); Nw. Airlines, 1980 WL 4650, at *1 (“The stay is ordered in light of

the questions of first impression raised by this appeal.”); Maxcrest Ltd. v. United States, 2016 WL

6599463, at *2 (N.D. Cal. Nov. 7, 2016) (granting stay because defendant made a “sufficient

showing that its appeal raises a legal question of first impression”); Jock v. Sterling Jewelers, Inc.,



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738 F. Supp. 2d 445, 447 (S.D.N.Y. 2010) (finding plaintiffs “sufficiently demonstrated a

likelihood of success” where “the plaintiffs’ appeal presents an issue of first impression” on which

“the Court of Appeals may disagree” with the district court).

       A stay is also appropriate because Defendants’ appeal presents a host of novel, and

potentially complex, issues related to threshold questions of federal jurisdiction. See Rennie v.

Klein, 481 F. Supp. 552, 555 (D.N.J. 1979) (“[T]ribunals may properly stay their own orders when

they have ruled on an admittedly difficult legal question and when the equities of the case suggest

that the status quo should be maintained.”) (citation omitted); Rescigno v. Statoil USA Onshore

Properties Inc., 2020 WL 4473004, at *2 (M.D. Pa. Aug. 4, 2020) (holding that the likelihood-of-

success prong is satisfied where the district court’s “decision was based on unsettled precedent or

involved a novel area of law”). Recent decisions from the Supreme Court and other federal

appellate courts demonstrate that, at a minimum, whether climate change-related cases are subject

to federal jurisdiction is an open question with reasonable room for disagreement. Disagreement

on such weighty jurisdictional issues plainly warrants a stay. See Nasr v. Hogan, 2008 WL

2367206, at *1 (M.D. Pa. June 6, 2008) (granting stay where “jurists of reason could disagree with

our conclusion”); In re: Bayou Shores SNE, LLC, 2015 WL 6502704, at *1–2 (M.D. Fla. Oct. 27,

2015) (granting stay because there was “disagreement on this issue among other circuit courts and

lower courts” and “the Court must acknowledge the debate and that reasonable people could

disagree”). Several issues in this case illustrate the point.

       First, there is a “reasonable chance” that the court of appeals will find that removal was

proper because Plaintiff’s claims necessarily “arise under” federal common law. The Supreme

Court has consistently admonished that “where there is an overriding federal interest in the need

for a uniform rule of decision,” Illinois v. City of Milwaukee, 406 U.S. 91, 105 n.6 (1972)



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(“Milwaukee I”), “state law cannot be used,” City of Milwaukee v. Illinois & Michigan, 451 U.S.

304, 313 n.7 (1981) (“Milwaukee II”). Interstate pollution is one such area: “When we deal with

air and water in their ambient or interstate aspects, there is a federal common law.” Id. (quoting

Milwaukee I, 406 U.S. at 103). As the Supreme Court explained, “[f]ederal common law and not

the varying common law of the individual States is . . . necessary to be recognized as a basis for

dealing in uniform standard with the environmental rights of a State against improper impairment

by sources outside its domain.” Milwaukee I, 406 U.S. at 107 n.9.

       Citing this “mostly unbroken string of cases . . . appl[ying] federal law to disputes

involving interstate air or water pollution,” the Second Circuit recently held that materially similar

climate change-related claims were necessarily governed by federal law, even though they were

pleaded under state law. City of New York, 993 F.3d at 91. The court reasoned that climate change

“presents a uniquely international problem of national concern [and] is therefore not well-suited

to the application of state law,” id. at 86–87, such that the plaintiff’s claims “must be brought under

federal common law,” id. at 95. Because the plaintiff in City of New York filed its complaint in

federal court, that case did not involve removal. See id. at 94. But the Second Circuit’s rationale

for dismissing the claims on the merits—because they were necessarily governed by federal law—

supports removal here. Specifically, the court concluded that claims seeking redress for injuries

allegedly caused by interstate emissions, although pleaded under state law, are “federal claims.”

Id. at 95. Such claims, like Plaintiff’s claims here, thus arise under federal law for purposes of 28

U.S.C. § 1331 and are removable under 28 U.S.C. § 1441.

       The Second Circuit expressly rejected the plaintiff’s attempt to reframe its case as focused

on anything other than emissions:

       Artful pleading cannot transform the City’s complaint into anything other than a
       suit over global greenhouse gas emissions. It is precisely because fossil fuels emit


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        greenhouse gases—which collectively ‘exacerbate global warming’—that the City
        is seeking damages. Put differently, the City’s complaint whipsaws between
        disavowing any intent to address emissions and identifying such emissions as the
        singular source of the City’s harm. But the City cannot have it both ways.

Id. at 91.

        So too here. See, e.g., Compl. ¶ 207 (asserting that “production and use of [Defendants’]

products . . . is the leading cause of climate change”); id. ¶ 2, 4 (alleging that the “extraction,

production, and consumption” of oil and gas is “the main driver of the gravely dangerous changes

occurring to the global climate”). And while the Second Circuit acknowledged “recent opinions

holding that ‘state-law claim[s] for public nuisance [brought against fossil fuel companies] do[]

not arise under federal law,’” City of New York, 993 F.3d at 93, this simply confirms that this issue

raises a serious legal question.

        To the extent this Court’s Remand Order depends on its interpretation of Plaintiff’s

Complaint as “seek[ing] only relief directed at recovering damages resulting from [Defendants’]

alleged disinformation campaign,” Remand Opinion at 12, that conclusion itself presents a

substantial legal question. As the District of Minnesota observed in granting a stay in a similar

action, although the Second Circuit case involved claims of “public and private nuisance related

explicitly to environmental and infrastructure damage” (which the court considered “markedly

different causes of action than the consumer protection and misrepresentation claims” at issue),

the Second Circuit decision nevertheless “provides a legal justification for addressing climate

change injuries through the framework of federal common law and at least slightly increases the

likelihood that Defendants will prevail on their efforts to keep this, and similar actions, in federal

court.” Minnesota, 2021 WL 3711072, at *2.

        Moreover, there is a reasonable probability that the Third Circuit will conclude that claims

that are necessarily governed by federal common law are subject to federal jurisdiction. Claims


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are removable if a plaintiff could have invoked a federal court’s jurisdiction and “filed its operative

complaint in federal court.” Home Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748 (2019);

see also Maglioli v. All. HC Holdings LLC, 16 F.4th 393, 406 (3d Cir. 2021) (removal appropriate

when “plaintiff could have originally filed the action in federal court”). And it is “well settled”

that 28 U.S.C. § 1331’s “grant of ‘jurisdiction will support claims founded upon federal common

law.’” Nat’l Farmers Union Ins. Cos. v. Crow Tribe of Indians, 471 U.S. 845, 850 (1985) (citation

omitted). Accordingly, in E.O.H.C., the Third Circuit held that a claim at issue was “governed by

federal [common] law,” and “because federal common law is federal law, disputes governed by it

‘arise under the . . . laws . . . of the United States,’” and the Court was vested with federal-question

jurisdiction. 950 F.3d at 192 (alterations omitted). Because Plaintiff’s claims here are governed

by federal common law and could have originally been brought in federal court, removal is

appropriate. Multiple courts of appeals have also held that federal common law provides a

“permissible basis for jurisdiction based on a federal question.” Treiber & Straub, Inc. v. U.P.S.,

Inc., 474 F.3d 379, 383 (7th Cir. 2007); see also Sam L. Majors Jewelers v. ABX, Inc., 117 F.3d

922, 924, 931 (5th Cir. 1997) (concluding that “removal [was] proper” because plaintiff’s pleaded

state-law claims “arose under federal common law”). 4




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      It is reasonably likely that Defendants will prevail on the question of how the well-pleaded
      complaint rule affects the analysis. While some courts have held that the well-pleaded
      complaint rule requires adhering to the state law labels the plaintiff affixes to its claims, e.g.,
      Rhode Island v. Chevron Corp., 393 F. Supp. 3d 142, 147 (D.R.I. 2019), appeal pending (1st
      Cir. 2021), other courts—including the Third Circuit—have held that it is the substance of the
      claims pleaded, not the Plaintiff’s labeling of them as federal or state law claims, that controls
      whether the well-pleaded complaint asserts a federal cause of action, e.g., Jarbough v. Atty.
      Gen., 483 F.3d 184, 189 (3d Cir. 2007) (“We are not bound by the label attached by a party to
      characterize a claim and will look beyond the label to analyze the substance of a claim.”); Est.
      of Campbell by Campbell v. S. Jersey Med. Ctr., 732 F. App’x 113, 116 (3d Cir. 2018)
      (explaining that what matters in assessing jurisdiction is “the substance of the plaintiff ’s
      claims,” not “how the plaintiff pled the action”).



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       Second, Defendants’ appeal will present a serious legal question regarding the propriety of

removal under the federal officer removal statute. In denying removal on this ground, this Court

held, in part, that “the issue of whether there is a sufficient ‘connection or association’ between

Plaintiff’s claims and Defendants’ participation in the OCS lease program” posed a “close call.”

Remand Opinion at 20. Federal officer jurisdiction nonetheless was lacking, the Court held,

because Defendants were not “acting under” federal officers. Id. at 21.

       There is a reasonable ground for disagreement on the issue of whether Defendants have

“acted under” federal officers, especially in light of the Fourth Circuit’s decision in Arlington

County. There, the Fourth Circuit affirmed removal of a case asserting state-law claims against

“opioid manufacturers, distributers [sic] and pharmacies . . . for causing, or contributing to, the

opioid epidemic in Arlington County, Virginia.” 996 F.3d at 247. The Fourth Circuit held that

the defendants “acted under” federal direction or control because they contracted with the

Department of Defense for pharmaceuticals “to ‘provide[] medical care to current and retired

service members and their families,’” and these contracts were “extensively governed by various

federal statutes and regulations.” Id. at 249 (citation omitted). Here, during the relevant period,

Defendants similarly provided highly specialized fuels to the Department of Defense and other

federal agencies under equally detailed federal requirements.

       Moreover, the Eighth Circuit recently confirmed that federal officer removal is warranted

where, as here, “a private contractor provided the government with a product that it needed or

performed a job that the government would otherwise have to perform.” Buljic, 2021 WL 6143549

at *5; see also Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 153–54 (2007) (“The

assistance that private contractors provide federal officers goes beyond simple compliance with

the law and helps officers fulfill other basic governmental tasks . . . [that,] in the absence of a



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contract with a private firm, the Government itself would have had to perform.”). This is exactly

what Defendants have done here. For example, Defendants produce oil and gas from reserves

owned by the government from the Outer Continental Shelf at the direction, and under close

supervision, of federal officials, in fulfillment of Congress’s directive to make those government-

owned resources “available for expeditious . . . development.”        43 U.S.C. § 1332(3).      And

Defendants have produced and supplied large quantities of highly specialized fuels that are

required to conform to exact DOD specifications to meet unique operational needs of the U.S.

military. The Third Circuit has held that “[g]overnment contractors are a classic example” of

federal-officer direction. Maglioli, 16 F.4th at 405. Federal contractors “act under” federal

officers whenever “the contractors help[ ] the Government to produce an item that it needed,” or

“the federal government uses a private corporation to achieve an end it would have otherwise used

its own agents to complete.” Papp v. Fore-Kast Sales Co., 842 F.3d 805, 812 (3d Cir. 2016)

(citations and alterations omitted).

       There is also a serious legal question whether Plaintiff can disclaim alleged injuries arising

from Defendants’ provision of fossil fuel products to the federal government, see Remand Order

at 17–18, particularly when Plaintiff’s alleged injuries necessarily arise from the total

accumulation of all greenhouse-gas emissions, Plaintiff offers no method to isolate its alleged

climate-related injuries from federally-directed conduct, and courts have held there is “no realistic

possibility” of doing so. Native Village of Kivalina v. ExxonMobil Corp., 663 F. Supp. 2d 863,

880 (N.D. Cal. 2009), aff’d, 696 F.3d 849 (9th Cir. 2012). Although no court of appeals has

addressed this issue, district courts have been divided, and the Seventh Circuit has held that

whether a plaintiff’s “injuries flowed from the [defendants’] specific war-time” activities is a

“merits questions that a federal court should decide.” Baker v. Atl. Richfield Co., 962 F.3d 937,



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945 (7th Cir. 2020).

       Third, the Third Circuit is reasonably likely to hold that OCSLA confers federal

jurisdiction over this case, another issue the court has never considered in the context of a climate

change-related action. OCSLA gives federal district courts original jurisdiction over actions that

“aris[e] out of, or in connection with . . . any operation conducted on the Outer Continental Shelf

(“OCS”) which involves exploration, development, or production of the minerals, of the subsoil

and seabed of the Outer Continental Shelf.” 43 U.S.C. § 1349(b)(1). Although this Court held

that OCSLA jurisdiction does not exist because Plaintiff’s claims do not have a “but for”

connection to the OCS operations, Remand Opinion at 26, the Third Circuit has never considered

the scope of OCSLA’s jurisdictional language. Moreover, the Supreme Court’s decision in Ford

Motor Co. v. Montana Eighth Judicial District Court, 141 S. Ct. 1017 (2021), demonstrates that

the Supreme Court interprets the term “connection” in the jurisdictional context to require

something less than a causal nexus. Id. at 1026 (declining to require “a strict causal relationship

between the defendant’s in-state activity and the litigation” for specific jurisdiction).

       Fourth, there is a reasonable probability that the Third Circuit will sustain Grable

jurisdiction in light of the substantial federal issues that are actually disputed in this case. Again,

this is a question of first impression because the Third Circuit has never considered whether

climate change-related actions are removable under Grable. Adjudicating Plaintiff’s claims will

require the court to balance the competing interests of environmental protection and economic

growth. And, to the extent Plaintiff’s claims rely on allegations of a “disinformation campaign,”

they necessarily include affirmative federal-law elements governed by the First Amendment that

must be addressed and resolved by the court.

II.    Defendants Will Suffer Irreparable Harm Absent a Stay.

       Once the clerk mails the certified copy of the Remand Order to the Delaware Superior

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Court, “the State Court may thereupon proceed with such case.” 28 U.S.C. § 1447(c). Absent a

stay of the Remand Order, the parties will proceed simultaneously along at least two tracks: they

will brief and argue Defendants’ appeal from the Remand Order in the Third Circuit, while

litigating the merits of Plaintiff’s claims in Delaware Superior Court. As a result, Defendants will

likely suffer irreparable harm absent a stay in multiple ways.

       First, denying the stay motion could render Defendants’ right to appeal hollow if the

Delaware Superior Court issues rulings on the merits before appellate review is completed. As the

First Circuit stated, “allowing a district court to render the permitted appeal nugatory by

prematurely returning the case to the state court would defeat the very purpose of permitting an

appeal and leave a defendant who prevails on appeal holding an empty bag. Neither Supreme

Court precedent nor our own case law demands so illogical a result.” Forty Six Hundred, 15 F.4th

at 79; see also In re Voluntary Purchasing Groups, Inc., 196 F.3d 1258, 1999 WL 800198, at *2

(5th Cir. 1999) (per curiam) (“Without a stay . . . [the] appeal will become moot.”); Providence

Journal Co. v. Fed. Bureau of Investigation, 595 F.2d 889, 890 (1st Cir. 1979) (“Meaningful

review entails having the reviewing court take a fresh look at the decision of the trial court before

it becomes irrevocable.”).

       Because a final “state court judgment or order could render the appeal meaningless,”

Defendants face “severe and irreparable harm if no stay is issued.” Northrop Grumman, 2016 WL

3346349, at *4; see also Indiana State Dist. Council of Laborers & Hod Carriers Pension Fund v.

Renal Care Grp., Inc., 2005 WL 2237598, at *1 (M.D. Tenn. Sept. 12, 2005) (granting stay

because if “the case is actually remanded, and the state court proceeds to move it forward, the

appellate right would be an empty one”). As the District of Minnesota found in staying a similar

climate change-related action, “dispositive resolution of the claims pending full appellate review



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would constitute a concrete and irreparable injury, particularly ‘where a failure to enter a stay will

result in a meaningless victory in the event of appellate success.’” Minnesota, 2021 WL 3711072,

at *3 (emphasis added) (citation omitted). And just last month, the District of New Jersey stayed

another climate case, finding that “returning the case now could defeat the very purpose of

appellate review.” Hoboken Stay Order at 5.

       Second, Defendants would be irreparably harmed by conflicting court decisions if they are

forced to litigate their federal appeal and the remanded state court action simultaneously. While

the appeal is pending in the Third Circuit, the Delaware Superior Court could rule on various

substantive and procedural motions, including dispositive motions that require the adjudication of

the parties’ claims and defenses. The court could also decide discovery motions. And there is a

concrete and substantial risk that these motions would be decided differently than they would be

in federal court. For example, Plaintiff may argue that the Delaware Superior Court has different

pleading standards or discovery rules than federal courts, raising the possibility that the outcome

of these motions in state court would be different than in federal court.

       There is no reason to run the risk of conflicting court decisions, and there may be no

practical way to un-ring the bell of potential outcomes in state court. Defendants cannot recover

the substantial non-monetary company resources (including significant time and effort by

company personnel) that they would need to dedicate to such merits proceedings and are unlikely

to recover much (if any) of their burden and expense incurred from potentially needless litigation

in state court from the governmental Plaintiff in this case. Such unrecoverable expenses constitute

irreparable harm. Kennecott Corp. v. Smith, 637 F.2d 181, 189 (3d Cir. 1980) (considering

“substantial financial costs which are not recoverable” in irreparable harm analysis). The District

of New Jersey recently rejected plaintiff’s description of this “two-track litigation merely as an



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‘inconvenience,’” finding that “[f]orcing the parties to litigate might also require a state court (and

the parties) to needlessly expend resources,” and “[a]ny reasonable estimation of discovery costs

would result in a large dollar amount.” Hoboken Stay Order at 5–6.

       Third, if the Third Circuit ultimately concludes that Defendants properly removed this

action, this Court would then need to wrestle with the effects of any state court rulings made while

the Remand Order was on appeal. Among other things, the Court would need to revisit the scope

of any discovery orders, determine whether and to what extent any discovery that was improperly

ordered may be clawed back or subjected to protective orders, and evaluate the alleged relevance

or persuasive force of any intervening merits orders issued by the state court. This would create a

“rat’s nest of comity and federalism issues” that would need to be untangled if the Third Circuit

reverses absent a stay in the interim. Northrop Grumman, 2016 WL 3346349, at *4.

       “District courts have been sensitive to concerns about forcing parties to litigate in two

forums simultaneously when granting stays pending appeal.” Id. Courts therefore routinely grant

motions to stay remand orders pending appeal precisely because of the risk of inconsistent

outcomes and other burdens posed by simultaneous litigation in state and federal courts. See, e.g.,

id. (entering stay because “[i]f th[e] order is not stayed, Plaintiff and Defendant will also both face

the burden of having to simultaneously litigate the appeal before the Fourth Circuit and the

underlying case in state court”); Estate of Joseph Maglioli v. Andover Subacute Rehab. Ctr., 2021

WL 2525714, at *7 n.3 (D.N.J. June 18, 2021) (acknowledging that “the burden of simultaneous

litigation and the potential for inconsistent outcomes constitutes irreparable harm”).

III.   The Balance of Harms Tilts Sharply in Defendants’ Favor.

       Where, as here, the government is the opposing party, “assessing the harm to the opposing

party and weighing the public interest . . . merge.” Minard Run Oil Co. v. U.S. Forest Serv., 670

F.3d 236, 256 (3d Cir. 2011), as amended (Mar. 7, 2012) (quoting Nken v. Holder, 556 U.S. 418,

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435 (2009)). As an initial matter, Plaintiff will not be harmed if the Court grants Defendants’

Motion because, as the Court found in the Remand Order, see Remand Order at 3 n.4, Plaintiff

seeks no prospective injunctive relief, only monetary damages, which can, of course, be awarded

at any time. See Minard Run Oil Co. v. Forest Service, 670 F.3d 236, 255 (3d Cir. 2011) (holding

that pure economic injury, compensable in money, is not irreparable in nature). And as the District

of Maryland noted in granting a stay of proceedings in a similar climate change-related case, “the

outcome of this lawsuit cannot turn back the clock on the atmospheric and ecological processes

that defendants’ activities have allegedly helped set in motion. The urgency of the threat of climate

change writ large is distinct from plaintiff’s interest in a speedy determination of federal

jurisdiction in this suit.” City of Annapolis, 2021 WL 2000469, at *4.

       In fact, Plaintiff would benefit from a stay in many ways. Plaintiff would avoid the same

risk of harm from potentially inconsistent outcomes in remanded state court proceedings. See

Raskas v. Johnson & Johnson, 2013 WL 1818133, at *2 (E.D. Mo. Apr. 29, 2013). A stay would

conserve Plaintiff’s resources—financial and otherwise—by allowing it to litigate Defendants’

appeal without being saddled with simultaneous state court litigation. See Dalton v. Walgreen Co.,

2013 WL 2367837, at *2 (E.D. Mo. May 29, 2013) (“[N]either party would be required to incur

additional expenses from simultaneous litigation.”). And while “a stay would not permanently

deprive [Plaintiff] of access to state court,” Defendants could “face[] a real chance that [their] right

to meaningful appeal will be permanently destroyed by an intervening state court judgment.”

Northrop Grumman, 2016 WL 3346349, at *4.

       As the District of Minnesota explained in granting a stay: “[T]he public also has an interest

in conserving resources by avoiding unnecessary or duplicative litigation, particularly where, as

here, the [court of appeals] will be addressing for the first time whether the state court has



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jurisdiction to resolve the claims and redress the injuries alleged at all.” Minnesota, 2021 WL

3711072, at *4. Courts frequently hold that “advancing judicial economy” and “conservation of

judicial resources” are bases for a stay, and a stay here would indisputably promote those interests.

See Summa Four, Inc. v. AT&T Wireless Servs., Inc., 994 F. Supp. 575, 585 (D. Del. 1998);

Guenveur v. State Farm Mut. Auto. Ins. Co., 551 F. Supp. 1044, 1048 (D. Del. 1982) (granting

stay where “judicial economy and simple good sense support the conclusion that a stay should be

granted”). At bottom, “it makes sense for all parties to allow the [Third Circuit] to address these

weighty jurisdictional issues prior to commencing litigation in state court.” Minnesota, 2021 WL

3711072, at *4.

                                         CONCLUSION

       For the foregoing reasons, execution of the Remand Order should be stayed pending

appeal. If the Court declines to grant a stay pending appeal, Defendants respectfully request that

it grant a temporary stay to preserve Defendants’ right to seek a stay from the Third Circuit.




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                                              Respectfully submitted,

Dated: January 14, 2022                       By: /s/ David E. Wilks
                                              David E. Wilks (Del. Bar I.D. 2793)

 K&L GATES LLP                               WILKS LAW, LLC
 /s/ Steven L. Caponi                        David E. Wilks
 Steven L. Caponi (No. 3484)                  dwilks@wilks.law
 Matthew B. Goeller (No. 6283)               4250 Lancaster Pike, Suite 200
 600 N. King Street, Suite 901               Wilmington, DE 19805
 Wilmington, DE 19801                        Telephone: 302.225.0858
 Phone: (302) 416-7000
 steven.caponi@klgates.com                   GIBSON, DUNN & CRUTCHER LLP
 matthew.goeller@klgates.com                 Theodore J. Boutrous, Jr., pro hac vice
                                             William E. Thomson, pro hac vice
 KELLOGG, HANSEN, TODD,                      333 South Grand Avenue
 FIGEL & FREDERICK, P.L.L.C.                 Los Angeles, CA 90071
 David C. Frederick, pro hac vice            Telephone: 213.229.7000
 Grace W. Knofczynski, pro hac vice          Facsimile: 213.229.7520
 Daniel S. Severson, pro hac vice            tboutrous@gibsondunn.com
 1615 M Street, N.W., Suite 400              wthomson@gibsondunn.com
 Washington, D.C. 20036
 Phone: (202) 326-7900                       Andrea E. Neuman, pro hac vice
 dfrederick@kellogghansen.com                aneuman@gibsondunn.com
 gknofczynski@kellogghansen.com              200 Park Avenue
 dseverson@kellogghansen.com                 New York, NY 10166
                                             Telephone: 212.351.4000
 Counsel for Defendants Royal Dutch Shell    Facsimile: 212.351.4035
 plc and Shell Oil Company
                                             Thomas G. Hungar, pro hac vice
                                             thungar@gibsondunn.com
 ASHBY & GEDDES
 /s/ Catherine A. Gaul                       1050 Connecticut Avenue, N.W.,
 Catherine A. Gaul (#4310)                   Washington, DC 20036
 500 Delaware Avenue, 8th Floor              Telephone: 202.955.8500
 P.O. Box 1150                               Facsimile: 202.467.0539
 Wilmington, Delaware 19801
                                             Joshua D. Dick, pro hac vice
 (302) 654-1888                              jdick@gibsondunn.com
 cgaul@ashbygeddes.com                       555 Mission Street
                                             San Francisco, CA 94105-0921
 ARNOLD & PORTER KAYE                        Telephone: 415.393.8200
 SCHOLER LLP                                 Facsimile: 415.393.8306
 Nancy G. Milburn, pro hac vice
 Diana E. Reiter, pro hac vice
 250 West 55th Street                        Attorneys for Defendants
 New York, NY 10019-9710                     Chevron Corporation and Chevron U.S.A. Inc.
 Tel: (212) 836-8383
 Fax: (212) 836-8689
 nancy.milburn@arnoldporter.com              MORRIS NICHOLS ARSHT & TUNNELL
 diana.reiter@arnoldporter.com                /s/ Kenneth J. Nachbar
                                             Kenneth J. Nachbar (#2067)
 Jonathan W. Hughes, pro hac vice            Alexandra M. Cumings (#6146)
 3 Embarcadero Center, 10th Floor            1201 North Market Street, 16th Floor
 San Francisco, CA 9411-4024                 P.O. Box 1347

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Case 1:20-cv-01429-LPS Document 127 Filed 01/14/22 Page 28 of 33 PageID #: 3465



 Tel: (415) 471-3156                         Wilmington, DE 19899-1347
 Fax: (415) 471-3400                         Tel.: (302) 658-9200
 jonathan.hughes@arnoldporter.com            Fax: (302) 422-3013
                                             knachbar@mnat.com
 Matthew T. Heartney, pro hac vice           acumings@mnat.com
 John D. Lombardo, pro hac vice
 777 South Figueroa Street, 44th Floor        EIMER STAHL LLP
 Los Angeles, California 90017-5844           Nathan P. Eimer, pro hac vice
 Tel: (213) 243-4000                          Pamela R. Hanebutt, pro hac vice
 Fax: (213) 243-4199                          Lisa S. Meyer, pro hac vice
 matthew.heartney@arnoldporter.com            224 South Michigan Avenue, Suite 1100
 john.lombardo@arnoldporter.com               Chicago, IL 60604
                                              Tel: (312) 660-7600
 Attorneys for Defendants BP America Inc. and neimer@eimerstahl.com
                                              phanebutt@eimerstahl.com
 BP p.l.c.                                    lmeyer@eimerstahl.com

                                             Robert E. Dunn, pro hac vice
 RICHARDS, LAYTON & FINGER, P.A.             99 S. Almaden Blvd. Suite 662
 /s/ Jeffrey L. Moyer                        San Jose, CA 95113
 Jeffrey L. Moyer (#3309)                    Tel: (669) 231-8755
 Christine D. Haynes (#4697)                 rdunn@eimerstahl.com
 One Rodney Square
 920 North King Street                       Attorneys for Defendant CITGO Petroleum
 Wilmington, DE 19801                        Corporation.
 (302) 651-7700
 moyer@rlf.com
 haynes@rlf.com                              ECKERT SEAMANS CHERIN &
                                             MELLOTT, LLC
 CRAVATH, SWAINE & MOORE LLP                 /s/ Colleen D. Shields__________________
 Kevin Orsini, pro hac vice                  Colleen D. Shields, Esq. (I.D. No. 3138)
 Vanessa A. Lavely, pro hac vice             Patrick M. Brannigan, Esq. (I.D. No. 4778)
 825 Eighth Avenue                           222 Delaware Avenue, 7th Floor
 New York, NY 10019                          Wilmington, DE 19801
 Tel: (212) 474-1000                         Telephone: (302) 574-7400
 Fax: (212) 474-3700                         Fax: (302) 574-7401
 E-mail: korsini@cravath.com                 Email: cshields@eckertseamans.com
 E-mail: vlavely@cravath.com                 Email: arogin@eckertseamans.com
 Attorneys for Defendant Occidental          SHOOK, HARDY & BACON L.L.P.
 Petroleum Corporation                       Tristan L. Duncan, pro hac vice
                                             Daniel B. Rogers, pro hac vice
                                             William F. Northrip, pro hac vice
 MARON MARVEL BRADLEY                        2555 Grand Blvd.
    ANDERSON & TARDY LLC                     Kansas City, MO 64108
 /s/ Antoinette D. Hubbard                   Phone: (816) 474-6550
 Antoinette D. Hubbard (No. 2308)            Email: tlduncan@shb.com
 Stephanie A. Fox (No. 3165)                 Email: drogers@shb.com
 1201 N. Market Street, Suite 900            Email: wnorthrip@shb.com
 P.O. Box 288
 Wilmington, DE 19801                        Attorneys for Defendant Murphy USA Inc.
 Tel: (302) 425-5177
 Adh@maronmarvel.com

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Case 1:20-cv-01429-LPS Document 127 Filed 01/14/22 Page 29 of 33 PageID #: 3466



 Saf@maronmarvel.com                          WOMBLE BOND DICKINSON (US) LLP
                                              /s/ Kevin J. Mangan
 HUNTON ANDREWS KURTH LLP                     Kevin J. Mangan (DE No. 3810)
 Shannon S. Broome, pro hac vice              Kristen H. Cramer (DE No. 4512)
 Ann Marie Mortimer, pro hac vice             Nicholas T. Verna (DE No. 6082)
 50 California Street                         1313 North Market Street, Suite 1200
 San Francisco, CA 94111                      Wilmington, Delaware 19801
 Tel: (415) 975-3718                          Telephone: (302) 252-4320
 SBroome@HuntonAK.com                         Facsimile: (302) 252-4330
 AMortimer@HuntonAK.com                       Email: kevin.mangan@wbd-us.com
                                              Email: kristen.cramer@wbd-us.com
 Shawn Patrick Regan, pro hac vice            Email: nick.verna@wbd-us.com
 200 Park Avenue
 New York, NY 10166                          MCGUIREWOODS LLP
 Tel: (212) 309-1046                         Andrew G. McBride pro hac vice
 SRegan@HuntonAK.com                         2001 K Street N.W.
                                             Washington, D.C. 20006
 Attorneys for Defendants Marathon Petroleum Telephone: (202) 857-1700
 Corporation, Marathon Petroleum Company Email: amcbride@mcguirewoods.com
 LP, and Speedway LLC
                                             Attorneys for American Petroleum Institute
 WHITE AND WILLIAMS LLP
 /s/ Christian J. Singewald
 CHRISTIAN J. SINGEWALD (#3542)               DUANE MORRIS LLP
 600 N. King Street                           /s/ Mackenzie M. Wrobel
 Suite 800                                    Mackenzie M. Wrobel (#6088)
 Wilmington, DE 19801                         1201 N. Market Street, Suite 501
 (302) 654-0424                               Wilmington, DE 19801-1160
                                              Telephone: (302) 657-4900
 MCGUIREWOODS LLP                             E-mail: MMWrobel@duanemorris.com
 Joy C. Fuhr
 Brian D. Schmalzbach                         SHOOK HARDY & BACON LLP
 W. Cole Geddy                                Michael F. Healy, pro hac vice
 800 East Canal Street                        555 Mission Street, Suite 2300
 Richmond, VA 23219                           San Francisco, CA 94105
 Telephone: (804) 775-1000                    Telephone: (415) 544-1942
 Email: jfuhr@mcguirewoods.com                E-mail: mfhealy@shb.com
 Email: bschmalzbach@mcguirewoods.com
 Email: cgeddy@mcguirewoods.com               DUANE MORRIS LLP
                                              Michael L. Fox, pro hac vice
 Attorneys for Defendant Devon Energy         Spear Tower
                                              One Market Plaza, Suite 2200
 Corporation                                  San Francisco, CA 94105-1127
                                              Telephone: (415) 957-3092
                                              E-mail: MLFox@duanemorris.com
 CHIPMAN BROWN CICERO & COLE,
 LLP                                          Attorneys for Defendant
 /s/ Paul D. Brown                            OVINTIV INC.
 Paul D. Brown (#3903)
 Hercules Plaza
 1313 N. Market Street, Suite 5400
 Wilmington, DE 19801                         MCCARTER & ENGLISH LLP
 Tel.: (302) 295-0194                         /s/ Daniel J. Brown

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Case 1:20-cv-01429-LPS Document 127 Filed 01/14/22 Page 30 of 33 PageID #: 3467



 brown@ChipmanBrown.com                   Michael P. Kelly (#2295)
                                          Daniel J. Brown (#4688)
 CROWELL & MORING LLP                     Alexandra M. Joyce (#6423)
 Kathleen Taylor Sooy, pro hac vice       Renaissance Centre
 Tracy A. Roman, pro hac vice             405 N. King St., 8th Floor
                                          Wilmington, DE 19801
 1001 Pennsylvania Avenue, N.W.           (302) 984-6331
 Washington, D.C. 20004                   mkelly@mccarter.com
 Tel.: (202) 624-2500                     djbrown@mccarter.com
 ksooy@crowell.com                        ajoyce@mccarter.com
 troman@crowell.com
                                          LATHAM & WATKINS LLP
 Honor R. Costello, pro hac vice          Steven M. Bauer, pro hac vice
                                          Margaret A. Tough, pro hac vice
 590 Madison Avenue, 20th Fl.             505 Montgomery Street, Suite 2000
 New York, NY 10022                       San Francisco, California 94111-6538
 Tel.: (212) 223-4000                     (415) 391-0600
 hcostello@crowell.com                    steven.bauer@lw.com
                                          margaret.tough@lw.com
 Attorneys for Defendant CONSOL Energy
 Inc.                                     BARTLIT BECK LLP
                                          Jameson R. Jones, pro hac vice
                                          Daniel R. Brody, pro hac vice
 CHIPMAN BROWN CICERO & COLE,             1801 Wewatta Street, Suite 1200
 LLP                                      Denver, CO 80202
 /s/ Paul D. Brown                        (303) 592-3123
 Paul D. Brown                            jameson.jones@bartlit-beck.com
 Hercules Plaza                           dan.brody@bartlit-beck.com
 1313 N. Market Street, Suite 5400
 Wilmington, DE 19801                     Attorneys for Defendants ConocoPhillips and
 Telephone: (302) 295-0194                ConocoPhillips Company
 E-mail: brown@ChipmanBrown.com

 JONES DAY                                MCCARTER & ENGLISH LLP
 Noel J. Francisco                        /s/ Daniel J. Brown
 David M. Morrell                         Michael P. Kelly (#2295)
 J. Benjamin Aguiñaga                     Daniel J. Brown (#4688)
 51 Louisiana Avenue, N.W.                Alexandra M. Joyce (#6423)
 Washington, DC 20001                     Renaissance Centre
 Telephone: (202) 879-3939                405 N. King St., 8th Floor
 Facsimile: (202) 626-1700                Wilmington, DE 19801
 E-mail: njfrancisco@jonesday.com         (302) 984-6331
 E-mail: dmorrell@jonesday.com            mkelly@mccarter.com
 E-mail: jbaguinaga@jonesday.com          djbrown@mccarter.com
                                          ajoyce@mccarter.com
 David C. Kiernan
 555 California Street, 26th Floor        LATHAM & WATKINS LLP
 San Francisco, CA 94104                  Steven M. Bauer, pro hac vice
 Telephone: (415) 626-3939                Margaret A. Tough, pro hac vice
 Facsimile: (415) 875-5700                505 Montgomery Street, Suite 2000
 E-mail: dkiernan@jonesday.com            San Francisco, California 94111-6538
                                          (415) 391-0600
 Attorneys for Defendant CNX Resources    steven.bauer@lw.com
 Corp.

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Case 1:20-cv-01429-LPS Document 127 Filed 01/14/22 Page 31 of 33 PageID #: 3468



                                             margaret.tough@lw.com
 PAUL, WEISS, RIFKIND, WHARTON &
 GARRISON LLP                                Attorneys for Defendants Phillips 66 and
  /s/ Matthew D. Stachel                     Phillips 66 Company
 Daniel A. Mason (#5206)
 Matthew D. Stachel (#5419)
 500 Delaware Avenue, Suite 200
 Post Office Box 32                          ABRAMS & BAYLISS LLP
 Wilmington, DE 19899-0032                   /s/ Michael A. Barlow
 Tel.: (302) 655-4410                        Michael A. Barlow (#3928)
 Fax: (302) 655-4420                         20 Montchanin Road, Suite 200
 dmason@paulweiss.com                        Wilmington, Delaware 19807
 mstachel@paulweiss.com                      (302) 778-1000
                                             barlow@abramsbayliss.com
 Theodore V. Wells, Jr., pro hac vice
 Daniel J. Toal, pro hac vice                ORRICK, HERRINGTON & SUTCLIFFE
 Yahonnes Cleary, pro hac vice               LLP
 Caitlin E. Grusauskas, pro hac vice         Robert P. Reznick, pro hac vice
 1285 Avenue of the Americas                 1152 15th Street NW
 New York, NY 10019-6064                     Washington, DC 20005
 Tel.: (212) 373-3000                        (202) 339-8600
 Fax: (212) 757-3990                         rreznick@orrick.com
 twells@paulweiss.com
 dtoal@paulweiss.com                         James Stengel, pro hac vice
 ycleary@paulweiss.com                       Marc R. Shapiro, pro hac vice
 cgrusauskas@paulweiss.com                   51 West 52nd Street
                                             New York, New York 10019-6142
 Attorneys for Defendants Exxon Mobil        (212) 506-5000
 Corporation, ExxonMobil Oil Corporation,    jstengel@orrick.com
 and XTO Energy Inc.
                                             Catherine Y. Lui, pro hac vice
                                             405 Howard Street
 RICHARDS LAYTON & FINGER, P.A.              San Francisco, California 94105-2669
 /s/ Robert W. Whetzel___________________    (415) 773-5571
 Robert W. Whetzel (#2288)                   clui@orrick.com
 Tel: (302) 651-7634
 Fax: (302) 651-7701                         Attorneys for Marathon Oil Corporation
 One Rodney Square
 902 North King Street                       RICHARDS, LAYTON & FINGER, P.A.
 Wilmington, DE 19801                        /s/ Robert W. Whetzel____________
 whetzel@rlf.com                             Robert W. Whetzel (#2288)
                                             Blake Rohrbacher (#4750)
 VINSON & ELKINS L.L.P.                      One Rodney Square
 Patrick W. Mizell, pro hac vice             920 N. King Street
 Matthew R. Stamme, pro hac vice             Wilmington, DE 19801
 Stephanie L. Noble, pro hac vice            302-651-7700
 Brooke A. Noble, pro hac vice               whetzel@rlf.com
 1001 Fannin Street, Suite 2500
 Houston, Texas 77002                        KIRKLAND & ELLIS LLP
 Tel: (713) 758-2932                         Anna Rotman, P.C., pro hac vice
 Fax: (713) 615-9935                         609 Main Street
 pmizell@velaw.com                           Suite 4500
 mstammel@velaw.com                          Houston, TX 77002

                                            25
Case 1:20-cv-01429-LPS Document 127 Filed 01/14/22 Page 32 of 33 PageID #: 3469



 snoble@velaw.com                             713-836-3750
 bnoble@velaw.com                             anna.rotman@kirkland.com

 Mortimer H. Hartwell, pro hac vice           Attorneys for Defendants Total S.A. and Total
 555 Mission Street, Suite 2000               Specialties USA Inc.
 San Francisco, CA 94105
 Tel: (415) 979-6930
 Fax: (415) 807-3358
 mhartwell@velaw.com

 Attorneys for Apache Corporation


 WHITE AND WILLIAMS LLP
 /s/ Joseph J. Bellew ____________________
 Joseph J. Bellew (#4816)
 600 N. King Street, Suite 800
 Wilmington, DE 19801-3722
 Telephone: (302) 467-4532
 Facsimile: (302) 467-4540
 Email: bellewj@whiteandwilliams.com

 BAKER BOTTS L.L.P.
 J. Scott Janoe, pro hac vice
 910 Louisiana Street, Suite 3200
 Houston, Texas 77002-4995
 Telephone: (713) 229-1553
 Facsimile: (713) 229-7953
 Email: scott.janoe@bakerbotts.com

 Megan Berge, pro hac vice
 700 K Street, N.W.
 Washington, D.C. 20001-5692
 Telephone: (202) 639-1308
 Facsimile: (202) 639-1171
 Email: megan.berge@bakerbotts.com

 Attorneys for Defendant HESS
 CORPORATION


 WHITE AND WILLIAMS LLP
 /s/ Joseph J. Bellew ____________________
 Joseph J. Bellew (#4816)
 600 N. King Street, Suite 800
 Wilmington, DE 19801-3722
 Telephone: (302) 467-4532
 Facsimile: (302) 467-4540
 Email: bellewj@whiteandwilliams.com

 BAKER BOTTS L.L.P.
 J. Scott Janoe, pro hac vice
 910 Louisiana Street, Suite 3200

                                             26
Case 1:20-cv-01429-LPS Document 127 Filed 01/14/22 Page 33 of 33 PageID #: 3470



 Houston, Texas 77002-4995
 Telephone: (713) 229-1553
 Facsimile: (713) 229-7953
 Email: scott.janoe@bakerbotts.com

 Megan Berge, pro hac vice
 700 K Street, N.W.
 Washington, D.C. 20001-5692
 Telephone: (202) 639-1308
 Facsimile: (202) 639-1171
 Email: megan.berge@bakerbotts.com

 Attorneys for Defendant MURPHY OIL
 CORPORATION




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